                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )    Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )    Case No. 21-61491
                                                         )    (Jointly Administered)
                          Debtors.                       )
                                                         )    Judge Russ Kendig


             NOTICE OF FILING FEE APPLICATIONS OF PROFESSIONALS

         PLEASE TAKE NOTICE THAT on June 30, 2022, the following professionals in the

above-captioned Chapter 11 cases (the “Cases”), filed with the Court the following applications

(collectively, the “Applications”):

         1. First Application of Brouse McDowell, LPA, Counsel for the Debtors, for Allowance
            of Compensation For Professional Services Rendered to Debtors, and Reimbursement
            of Expenses For the Period From November 23, 2021 through May 31, 2022 on an
            Interim Basis For Squirrels Research Labs LLC and Final Basis For The Midwest Data
            Company, LLC; Fees: $148,343.50, Expenses: $6,315.59;

         2. First Interim Application of CliftonLarsonAllen LLP as Accountants For the Debtors,
            For Allowance of Compensation of Professional Services Rendered to Squirrels
            Research Labs LLC For the Period January 31, 2022 Through May 31, 2022; Fees:
            $8,422.00, Expenses: $476.09; and

         3. First and Final Application of CliftonLarsonAllen LLP as Accountants For the Debtors,
            For Allowance of Compensation of Professional Services Rendered to The Midwest
            Data Company, LLC For the Period January 31, 2022 Through May 31, 2022; Fees:
            $712.00, Expenses: $35.60.

         Your rights may be affected. You should read the Applications carefully and discuss

them with your attorney, if you have one in this bankruptcy case. (If you do not have an

attorney, you may wish to consult one.)



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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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       If you do not want the Court to grant the relief requested in the Applications, or if you want

the Court to consider your views on the Applications, then on or before July 21, 2022, you or your

attorney must file with the Court a written objection explaining your position at:

                               Clerk of Court
                               U.S. Bankruptcy Court
                               Ralph Regula Federal Building
                                  and U.S. Courthouse
                               401 McKinley Avenue, SW
                               Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                               Marc B. Merklin
                               Julie K. Zurn
                               Brouse McDowell LPA
                               388 S. Main Street, Suite 500
                               Akron, Ohio 44311

                               Counsel for the Debtors
                               and Debtors-in-Possession

       Objections to the Application(s) should specifically state: (a) the basis for the objection in

the form prescribed by the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy

Rules, (b) whether the objecting party is a creditor of, or interest holder in, the Debtor’s estate and

(c) the nature of the objecting party’s claim or interest.

       A copy of the Applications can be obtained by contacting Julie K. Zurn via telephone at

330.535.5711.

       PLEASE TAKE FURTHER NOTICE THAT a hearing on the Applications will be held

on July 26, 2022 at 2:00 p.m. (ET), or as soon thereafter as this matter may be heard, before the

Honorable Russ Kendig at the United States Bankruptcy Court, Ralph Regula Federal Building

and U.S. Courthouse, 401 McKinley Avenue, SW, Canton, Ohio 44702, Dial In: (888) 684-8852;




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Access Code: 3303949#.2; provided however, the Court may continue the hearing without further

notice.

          If you or your attorney do not take these steps, the Court may grant the relief requested

without conducting a hearing and without further notice to you.


Dated: June 30, 2022                               Respectfully submitted,

                                                   /s/ Julie K. Zurn
                                                   Marc B. Merklin (0018195)
                                                   Julie K. Zurn (0066391)
                                                   BROUSE MCDOWELL, LPA
                                                   388 S. Main Street, Suite 500
                                                   Akron, Ohio 44311
                                                   Telephone: (330) 535-5711
                                                   Facsimile: (330) 253-8601
                                                   mmerklin@brouse.com
                                                   jzurn@brouse.com

                                                   Counsel for the Debtors
                                                   and Debtors-in-Possession


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  For further details on telephonic participation, please refer to Judge Kendig’s Notice of Telephonic Hearing
Procedure, dated March 18, 2020, at https://www.ohnb.uscourts.gov/sites/default/files/memoranda/telephonic-
hearing-procedure-31820.pdf




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